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                   EXHIBIT 4

To the Declaration of Rakesh N.
            Kilaru

    REDACTED VERSION OF
      DOCUMENT FILED
         PUBLICLY
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                                #:17594




                              In the Matter Of:

                  NFL Sunday Ticket Antitrust Litigation




                            BRENT LAWTON
                                June 22, 2022




                           LEXITAS™
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                                #:17595

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·1· · · · · · · · · ·UNITED STATES DISTRICT COURT

·2· · · · · · · · · CENTRAL DISTRICT OF CALIFORNIA

·3· · · · · · ·Civil Action No. 2:15-ml-02668-PSG(JEMx)

·4· ·----------------------------------------x

·5· ·IN RE:· NATIONAL FOOTBALL

·6· ·LEAGUE'S "SUNDAY TICKET"

·7· ·ANTITRUST LITIGATION

·8· ·----------------------------------------x

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13· · · · · · · VIDEOTAPED STENOGRAPHIC DEPOSITION OF:
· · · · · · · · · · · · ·BRENT DOUGLAS LAWTON
14· · · · · · · · · · ·Wednesday, June 22, 2022
· · · · · · · · · · · · · New York, New York
15· · · · · · · · · · · 8:57 a.m. - 3:32 p.m.

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22· · · · · · · · · Reported stenographically by:
· · · · · · · · · Richard Germosen, CA CSR No. 14391
23· · · · · · RDR, CRR, CCR, CRCR, CSR-CA, NYACR, NYRCR
· · · · · · · NCRA/NJ/NY/CA Certified Realtime Reporter
24· · · · · · · ·NCRA Realtime Systems Administrator
· · · · · · · · · · · · ·Job No. 2022-845603
25
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   NFL Sunday Ticket Antitrust Litigation #:17596                  Brent Lawton
                                                                    June 22, 2022

                                                                           2
·1· · · · · VIDEOTAPED STENOGRAPHIC DEPOSITION of

·2· ·BRENT DOUGLAS LAWTON, taken in the above-entitled matter

·3· ·before RICHARD GERMOSEN, Certified Court Reporter,

·4· ·(License No. 30XI00184700), Certified Realtime Court

·5· ·Reporter-NJ, (License No. 30XR00016800), California

·6· ·Certified Shorthand Reporter, (License No. 14391),

·7· ·NCRA/NY/CA Certified Realtime Reporter, NCRA Registered

·8· ·Diplomate Reporter, New York Association Certified

·9· ·Reporter, NCRA Realtime Systems Administrator, taken at

10· ·the offices of COVINGTON & BURLING LLP, 620 Eighth

11· ·Avenue, New York, New York 10018, on Wednesday, June 22,

12· ·2022, commencing at 8:57 a.m.

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   NFL Sunday Ticket Antitrust Litigation #:17597                  Brent Lawton
                                                                    June 22, 2022

                                                                           3
·1· ·A P P E A R A N C E S:

·2

·3

·4· ·SUSMAN GODFREY LLP

·5· ·BY:· TYLER M. FINN, ESQ.

·6· ·1301 Avenue of the Americas

·7· ·32nd Floor

·8· ·New York, New York 10019

·9· ·(212) 336.8330 / (212) 336.8340 (FAX)

10· ·tfinn@susmangodfrey.com

11· ·Attorneys for the Plaintiffs

12

13· ·WILKINSON STEKLOFF LLP

14· ·BY:· JEREMY S. BARBER, ESQ.

15· ·130 West 42nd Street

16· ·24th Floor

17· ·New York, New York 10036

18· ·(212) 294.8929

19· ·jbarber@wilkinsonstekloff.com

20· ·Attorneys for the NFL Defendants

21

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   NFL Sunday Ticket Antitrust Litigation #:17598                  Brent Lawton
                                                                    June 22, 2022

                                                                           4
·1· ·A P P E A R A N C E S:· (CONT'D.)

·2

·3

·4· ·WILKINSON STEKLOFF LLP

·5· ·BY:· ELIZABETH KEYS, ESQ.

·6· · · · -and-

·7· ·BY:· MAX WARREN, ESQ., (streaming via BridgeMobile)

·8· ·2001 M Street, N.W.

·9· ·10th Floor

10· ·Washington, D.C. 20036

11· ·(202) 847.4034

12· ·ekeys@wilkinsonstekloff.com

13· ·mwarren@wilkinsonstekloff.com

14· ·Attorneys for the NFL Defendants

15

16· ·ALSO PRESENT:

17· ·MARCELO RIVERA, Legal Video Specialist

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·1· · · · · · · · · · · · · · I N D E X

·2· ·WITNESS· · · · · · · · · · · · · · · · EXAMINATION

·3· ·BRENT D. LAWTON

·4· · ·BY MR. FINN· · · · · · · · · · · · · · · · ·10

·5· · ·BY MR. BARBER· · · · · · · · · · · · · · · 202

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·7· · · · · · · · · · · · ·E X H I B I T S

·8· ·EXHIBIT NO.· · DESCRIPTION· · · · · · · · · · PAGE

·9·




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·1· · · · · · · · · ·E X H I B I T S· (CONT'D.)

·2· ·EXHIBIT NO.· · DESCRIPTION· · · · · · · · · · PAGE

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·1· · · · · · · · · ·E X H I B I T S· (CONT'D.)

·2· ·EXHIBIT NO.· · DESCRIPTION· · · · · · · · · · PAGE

·3· ·

·4· · · · · · · · ·

·5· ·**original exhibits returned with original transcript
· · ·by LEXITAS LEGAL to SUSMAN GODFREY LLP
·6· ·(exhibit index concluded)

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                                                                    June 22, 2022

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·1· · · · · · · · IT IS HEREBY STIPULATED AND AGREED, by

·2· ·and between the attorneys for the respective parties

·3· ·herein, that filing and sealing be and the same are

·4· ·hereby waived.

·5· · · · · · · · IT IS FURTHER STIPULATED AND AGREED

·6· ·that all objections, except as to the form of the

·7· ·question, shall be preserved to the time of trial.

·8· · · · · · · · IT IS FURTHER STIPULATED AND AGREED

·9· ·that the within deposition may be signed and sworn

10· ·to before any officer authorized to administer an

11· ·oath, with the same force and effect as if signed

12· ·and sworn to before the officer before whom the

13· ·within deposition was taken.

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                                                                    June 22, 2022

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·1· ·--------------------------------------------------

·2· · · · · · · · · · · P R O C E E D I N G S

·3· · · · · · · · · · · · · · 8:57 a.m.

·4· · · · · · · · · · · · New York, New York

·5· ·--------------------------------------------------

·6· · · · · · · · · THE VIDEOGRAPHER:· Stand by, please.

·7· · · · · · · · · This is the digitized video

·8· ·deposition of Mr. Brent Lawton in the matter in re:

·9· ·NFL Sunday Ticket Antitrust Litigation, in the

10· ·United States District Court for the Central

11· ·District of California.

12· · · · · · · · · This deposition is being held at

13· ·Covington & Burling, located at 620 Eighth Avenue,

14· ·New York, New York, on June 22, 2022 at

15· ·approximately 8:57 a.m.

16· · · · · · · · · My name is Marcelo Rivera from

17· ·Lexitas Legal Philadelphia, and I am the video

18· ·specialist.· The court reporter is Rich Germosen in

19· ·association with Lexitas Legal Philadelphia.

20· · · · · · · · · Will present counsel please introduce

21· ·themselves for the record.

22· · · · · · · · · MR. FINN:· Tyler Finn for Susman

23· ·Godfrey on behalf of the plaintiffs.

24· · · · · · · · · MR. BARBER:· Jeremy Barber on behalf

25· ·of the NFL defendants.


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                                                                    June 22, 2022

                                                                          10
·1· · · · · · · · · MS. KEYS:· Liz Keys on behalf of the

·2· ·NFL defendants.

·3· · · · · · · · · THE VIDEOGRAPHER:· Will the court

·4· ·reporter please swear in the witness.

·5· · · · · · · · · (Whereupon, the Certified Realtime

·6· ·Stenographer administered the oath to the witness.)

·7

·8· ·B R E N T· ·D.· ·L A W T O N,

·9· ·residing at 7 Tranquility Lane, Westport, Connecticut

10· ·06880, having been first duly sworn or affirmed, was

11· ·examined and testified as follows:

12· ·EXAMINATION BY MR. FINN:

13· ·BY MR. FINN:

14· · · · · Q.· · · Good morning, Mr. Lawton.

15· · · · · A.· · · Good morning.

16· · · · · Q.· · · Could you please state your full name

17· ·for the record.

18· · · · · A.· · · Sure.· Brent Lawton.

19· · · · · Q.· · · And, Mr. Lawton, who is your

20· ·employer?

21· · · · · A.· · · The National Football League.

22· · · · · Q.· · · And what is your position with the

23· ·National Football League?

24· · · · · A.· · · I'm a vice-president in the media

25· ·strategy and BG group.


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